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11                          IN THE UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                          OAKLAND DIVISION
14
     IN RE GOOGLE RTB CONSUMER                                 Case No. 4:21-cv-02155-YGR-VKD
15
     PRIVACY LITIGATION
16                                                             PLAINTIFFS’ ADMINISTRATIVE
                                                               MOTION TO ENTER A
17                                                             SUPPLEMENTAL PROTECTIVE
                                                               ORDER APPLICABLE TO A THIRD
18                                                             PARTY’S DOCUMENTS
19
     This document applies to all actions                      Judge: Hon. Virginia K. DeMarchi
20

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                      In re Google RTB Consumer Privacy Litigation, No. 4:21-cv-02155-YGR-VKD
          Plaintiffs’ Admin. Motion to Enter Suppl. Protective Order Applicable to a Third Party’s Documents
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 1          Pursuant to Civil Local Rule 7-11 pertaining to motions for administrative relief and the

 2   Hon. Virginia K. DeMarchi’s Standing Order for Civil Cases, plaintiffs respectfully seek leave to

 3   file a noticed motion under Civil Local Rule 7-2 to enter a supplemental protective order applicable

 4   to certain documents to be produced by subpoenaed third party Xandr, Inc.

 5                                               BACKGROUND

 6          On June 3, 2021, the Court entered a Stipulated Protective Order Governing the Exchange

 7   of Confidential Discovery Material (“Protective Order”). ECF No. 59. Section 9(a) of the

 8   Protective Order states: “Nothing in these provisions should be construed as prohibiting a Non-

 9   Party from seeking additional protections” with respect to documents that a Non-Party might

10   produce in this action.

11          Plaintiffs served subpoenas for documents and preservation demands on numerous third

12   parties that Plaintiffs’ counsel had identified as RTB participants particularly likely to have

13   information relevant to this action, in August 2021. One such third party was Xandr, Inc. (“Xandr”)

14   (pronounced “Zander”). Declaration of Andrew F. Kirtley (“Kirtley Decl.”) ¶ 2. Xandr 1 not only

15   participates in RTB auctions, it also specializes in online advertising and analytics and operates an

16   online platform for buying and selling consumer-centric digital advertising. These activities make

17   Xandr a direct competitor of Defendant Google LLC (“Google”) in the online advertising space.

18          Plaintiffs and Xandr began meeting and conferring, in September 2021, about the subpoena

19   Plaintiffs served on Xandr (the “Xandr Subpoena”), which resulted in Plaintiffs and Xandr

20   agreeing to initially limit the subpoena (with a mutual reservation of all rights) to the following

21   five categories of requests: (1) documents that Xandr has produced, if any, pursuant to a

22   government subpoena or other governmental request for documents concerning Google RTB

23   auctions; (2) Xandr’s contracts with Google concerning Google RTB auctions; (3) twenty-five

24   random samples of Xandr’s server logs from RTB events; (4) schematics/slide decks/documents

25   sufficient to show how Google RTB auctions work from Xandr’s perspective and how and why

26   Xandr participates in the auctions (e.g., the value that Xandr derives from participating in the

27
     1
       Xandr was a subsidiary of AT&T Inc. (“AT&T”) until 2021, when it was sold and became a
     subsidiary of Microsoft Corporation.
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 1   auctions); and (5) documents sufficient to show Xandr’s data preservation protocol as relates to

 2   data received from participating in RTB auctions. Under this agreement, in October 2021, Xandr

 3   produced certain documents responsive to some of these categories. Kirtley Decl. ¶¶ 3-4.

 4          With respect to categories 1 and 4, however, Xandr stated that, as a competitor to Google,

 5   Xandr requires a supplemental protective order, in the form attached hereto as Exhibit A

 6   (“Supplemental Protective Order”), before it will produce requested information. Xandr stated that

 7   the Xandr Subpoena calls for the production of documents containing competitively sensitive

 8   information that Xandr (through its then-parent, AT&T) had previously produced to governmental

 9   entities in connection with an investigation that eventually culminated in antitrust lawsuits against

10   Google, specifically United States, at al. v. Google LLC, No. 20-cv-03010-APM (D.D.C), and the

11   related case Colorado, et al. v. Google LLC, No. 20-cv-03715-APM (D.D.C.) (collectively, the

12   “DOJ Litigation”). Kirtley Decl. ¶ 4. Owing to its competitively sensitive nature, the information

13   produced by Xandr and other subpoenaed third parties leading up to, and in the course of, the DOJ

14   Litigation received heightened protections set forth in the Protective Order entered in that

15   litigation. See DOJ Litigation, ECF No. 98 (“DDC Protective Order”).2

16          The DDC Protective Order affords Xandr specific protections against the disclosure of

17   confidential and competitively sensitive information to Google’s in-house counsel that Xandr

18   requires here—namely, that information designated as “Highly Confidential Information” may not

19   be disclosed to Google’s in-house counsel (with limited exceptions), and that disclosure of

20   “Confidential Information” to Google’s in-house counsel is limited to “Designated In-House

21   Counsel” only. See id., ECF No. 98 ¶¶ 11(c), 12(c)-(d), 17; see also id. ¶ 1 (defining those terms).

22   These same, express protections do not appear in the Protective Order in this action, section 7.3(b)

23   of which expressly permits disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

24

25   2
       See also id., ECF No. 50 at 1-2, 3 (AT&T arguing for protections in the DDC Protective Order
26   because disclosure of its “most sensitive documents would afford Google an unfair advantage in
     competition, commercial negotiations, and, in some cases, ongoing litigation against Non-Parties,”
27   and otherwise “would provide Google with a playbook on issues such as attacking its would-be
     competitors and other market participants”); see also id., ECF Nos., 47, 51, 52 (similar arguments
     from Apple, GroupM, and DuckDuckGo); id., ECF No. 73 (further argument from AT&T).
                                                           -2-
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 1   ONLY” information to Google’s “Designated House Counsel.” Xandr thus believes it would

 2   effectively lose the protections in the DDC Protective Order for documents presently covered by

 3   the DDC Protective Order if those documents are produced here without the same protections, as

 4   proposed in the Supplemental Protective Order. See Kirtley Decl, Ex. A at p.3 & ¶ 2.8 (adding

 5   protection to “Xandr Protected Information,” including “information or documents … designated

 6   in the DOJ[] Litigation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”).

 7          Plaintiffs have conferred with Google regarding Xandr’s needed protection and request for

 8   a Supplemental Protective Order, including on February 2, 2022 and thereafter, and asked that

 9   Google agree to Xandr’s request. After subsequent meet and confers, Google sent a letter dated

10   November 16, 2022, to say it objected and would not consent to the relief Xandr requests, in part,

11   because, according to Google, the documents Xandr intends to produce likely were not “responsive

12   to this litigation, including because they were produced in a separate antitrust matter concerning

13   Google’s Search product” (i.e., the DOJ Litigation). See Kirtley Decl. ¶ 5 & Exhibit B at 1.

14          On February 15, 2023, in a final meet and confer attempt among all parties concerned,

15   Xandr’s counsel again represented that all the documents in Xandr’s anticipated production relate

16   to Google RTB. Google’s counsel maintained—improperly—that for Google to consider

17   consenting to entry of the proposed Supplemental Protective Order, it would need a further

18   representation that all the documents specifically concerned the disclosure of personal information

19   via Google RTB (Google’s view of relevance), after which Google would consider proposing

20   redlines to the Supplemental Protective Order. Cf. Calhoun v. Google LLC, 2022 WL 1987864

21   (N.D. Cal. June 6, 2022) (sanctioning Google for culling 90% of third-party document production

22   based on Google’s purported relevance objections, in violation of a Court order). When asked what

23   redlines Google might have, Google’s counsel was not prepared to say, despite having had the

24   proposed Supplemental Protective Order for over a year. Kirtley Decl. ¶ 6.

25                                                 ARGUMENT

26          Pursuant to its administrative authority under Civil L.R. 7-11, the Court should enter the

27   proposed Supplemental Protective Order to give Xandr effectively the same protections it


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 1   previously obtained in other pending litigation for documents containing competitively sensitive

 2   information. Entry of the Supplemental Protective Order is necessary to avoid chilling Xandr’s

 3   cooperation in responding to Plaintiffs’ subpoena. See Akzo, 808 F.2d at 1483 (“Disclosure of

 4   sensitive materials to an adversary would undoubtedly have a chilling effect on the parties’

 5   willingness to provide the confidential information essential to the [] fact-finding processes.”).

 6   Third parties such as Xandr may reasonably fear economic harm if Google learns their competitive

 7   secrets, given the enormous power that Google exercises over the online advertising market. Entry

 8   of the Supplemental Protective Order will help ensure that Xandr’s competitively sensitive

 9   information does not end up being used by Google to gain a competitive advantage, even

10   inadvertently. See Intel Corp. v. VIA Techs., Inc., 198 F.R.D. 525, 531 (N.D. Cal. 2000) (“good

11   intentions are insufficient to prevent inadvertent disclosure of confidential information because it

12   is not possible for counsel to ‘lock-up trade secrets in [her] mind’” (quoting Brown Bag Software

13   v. Symantec Corp., 960 F.2d 1465, 1471 (9th Cir. 1992)).

14          Disclosure to in-house counsel is not a legal or practical imperative, and litigation

15   frequently proceeds with protective orders that limit in-house counsel’s access to third-party

16   confidential information.3 In many of these cases, courts entered protective orders with a two-

17   tiered approach to confidentiality (like the one in Exhibit A) that provides a mechanism by which

18   third parties can shield particularly sensitive information from in-house counsel review. 4 Indeed,

19   in other cases, Google has sought to prevent disclosure of its materials to other company’s in-

20   house counsel. See Oracle Am., Inc. v. Google, Inc., No. 10-cv-03561, ECF No. 145, Joint Ltr. Re

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22   3
       See, e.g., United States v. Microsoft Corp., No. 98-cv-01232, ECF No. 928-4, Stipulation and
23   Protective Order at 9 (D.D.C. May 27, 1998) (access to highly confidential material restricted to
     outside counsel); United States v. Anthem, Inc., No. 16-cv-01493, 2016 WL 11164026, *4 (D.D.C.
24   Sept. 15, 2016) (“does not permit disclosure to Defendants’ in-house counsel”).
     4
       See, e.g., United States v. Bazaarvoice, Inc., No. 13-cv-00133, ECF No. 35, Stipulated Protective
25
     Order at 12-13 (N.D. Cal. Mar. 4, 2013); United States v. Sabre Corp., No. 19-cv-01548, ECF No.
26   24, Stipulated Protective Order at 11-12 (D. Del. Sept. 10, 2019); United States v. US Airways
     Grp., Inc., No. 13-cv-01236, ECF No. 55, Stipulated Protective Order Concerning Confidentiality
27   at 9 (D.D.C. Aug. 30, 2013); see also FTC v. Vyera Pharm., No. 20-cv-00706, ECF No. 92,
     Stipulated Protective Order at 10 (S.D.N.Y. Apr. 20, 2020); United States v. Am. Express Co., No.
     10-cv-04496, ECF No. 102, Stipulation and Protective Order at 12 (E.D.N.Y. Apr. 7, 2011) (same).
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 1   Oracle’s Req. for In-House Counsel Access to AEO Information at 9 (N.D. Cal. May 18, 2011).

 2   The proposed Supplemental Protective Order, which is limited in its scope only to competitor non-

 3   party Xandr, is consistent with that well-established approach.

 4          In determining whether to allow disclosure of third-party confidential information, courts

 5   must balance the need for in-house counsel to have such access against the risk of inadvertent

 6   disclosure. United States v. Aetna Inc., No. 16-cv-01494, 2016 WL 8738420, at *4 (D.D.C. Sept.

 7   5, 2016) (denying request to modify protective order to provide in-house counsel access). In Aetna,

 8   the court considered, among other things, (1) the sensitive nature of the confidential information

 9   to be disclosed, (2) the appropriateness of the designated in-house counsel gaining access, (3) the

10   litigation needs of the party requesting in-house counsel disclosure, and (4) the deterrent effect on

11   third-party cooperation. See id., at *4-10.

12          Here, given the competitively sensitive nature of Xandr’s confidential information and the

13   self-evident deterrent effect that not entering the Supplemental Protective Order would have on

14   Xandr’s cooperation, the risk of inadvertent disclosure greatly outweighs Google’s apparent desire

15   for its in-house counsel to have blanket access to highly confidential, competitive third-party

16   information. There is no reason Google’s in-house counsel needs access to all third-party

17   confidential information for Google to litigate this case. See, e.g., id., at *9 (rejecting defendants’

18   vague assertions of need, where defendants had retained highly qualified and sophisticated outside

19   counsel with experience in similar cases.). “Requiring a party to rely on its competent outside

20   counsel does not create any ‘undue or unnecessary burden.’” Intel Corp. v. VIA Techs., Inc. 198

21   F.R.D. 525, 528 (N.D. Cal. 2000); see also Akzo N.V. v. U.S. Int’l Trade Comm’n, 808 F.2d 1471,

22   1482-83 (Fed. Cir. 1986) (rejecting as “groundless” Akzo’s arguments that denying in-house

23   counsel access to confidential information “deprived it of its rights to confrontation, to rebuttal,

24   and to effective assistance of counsel”).

25                                                 CONCLUSION

26          For the foregoing reasons, Plaintiffs respectfully request that the Court enter the proposed

27   Supplemental Protective Order attached as Exhibit A.


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 1                                                    Respectfully submitted,

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 1                                      ATTORNEY ATTESTATION

 2          I, Andrew F. Kirtley, am the ECF User whose ID and password are being used to file this

 3   Administrative Motion to Enter Supplemental Protective Order Applicable to a Third Party’s

 4   Documents. In compliance with Civil Local Rule 5-l(h)(3), I hereby attest that concurrence in the

 5   filing of this document has been obtained from each signatory.

 6

 7    Dated: March 29, 2023                                  By:     /s/ Andrew F. Kirtley
                                                                      ANDREW F. KIRTLEY
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